Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 1 of 12 PageID 11293




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


  ALAN GRAYSON,

                      Plaintiff,

  v.                                            Case No: 6:20-cv-1824-PGB-LHP

  NO LABELS, INC., PROGRESS
  TOMORROW, INC., UNITED
  TOGETHER, INC., NANCY
  JACOBSON, MARK PENN and
  JOHN DOES,

                      Defendants.
                                         /

                                        ORDER

        This cause is before the Court on the Defendants’ Motion to Strike

  Testimony and Report of Plaintiff’s Expert David Heller and to Preclude Testimony

  at Trial (the “Daubert Motion”). (Doc. 89). The Plaintiff has submitted a

  Response in Opposition. (Doc. 109). Upon due consideration, the Defendants’

  Daubert Motion is granted.

  I.    BACKGROUND

        The Plaintiff, Alan Grayson, contends in his Second Amended Complaint

  that the Defendants, acting through Progress Tomorrow, published false and

  defamatory statements which damaged him “personally, professionally, and

  ultimately politically.” (Doc. 35, p. 1). The allegedly defamatory statements fall into

  three categories: (1) citation to a Congressional Ethics Investigation finding
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 2 of 12 PageID 11294




  candidate Grayson had “Abused His Office for Financial Gain,” including by using

  “taxpayer resources to conduct his high-risk investor scheme;” (2) images of

  Grayson’s passport photograph with dollar signs replacing his eyes, an attaché case

  containing $150,000, and images implying he flew to the Cayman Islands to

  launder the money; (3) statements relating to accusations made by Grayson’s ex-

  wife in connection with their divorce proceedings during which she accuses him of

  spousal abuse. (Id. ¶¶ 19–24). Plaintiff Grayson sued the Defendants for

  Defamation (Count I), Defamation by Implication (Count II), and Civil Conspiracy

  (Count III). (Id. ¶¶ 43–73).

         The Plaintiff retained Mr. David Heller to offer expert testimony concerning

  the cost associated with repairing the Plaintiff’s reputation within the 9th

  Congressional District. (Doc. 89–1, ¶¶ 2, 8). Mr. Heller concludes that the cost of

  producing and purchasing mail, television and internet advertising designed to

  rehabilitate Mr. Grayson’s reputation within the 9th Congressional District is

  $16.777 million dollars. (Id. ¶ 8). That said, Mr. Grayson has not spent any money

  to date to rehabilitate his reputation in the 9th Congressional District or anywhere

  else. 1 Further, it is undisputed that Mr. Grayson’s intention is to run for the United

  States Senate and not the House of Representatives. (Doc. 88-2, 64:7–17; Doc. 89-

  3, 138:8–10, 140:6–8). Notwithstanding this fact, Mr. Heller’s opinion is limited




  1   See Doc. 89-3, 142:14—143:21.



                                            2
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 3 of 12 PageID 11295




  to the cost of rehabilitating Mr. Grayson’s reputation within Florida’s 9th

  Congressional District. 2

  II.      LEGAL STANDARDS

           Federal Rule of Evidence 702 permits “[a] witness who is qualified as an

  expert by knowledge, skill, experience, training, or education” to testify in the form

  of an opinion. In Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579,

  589 (1993), the Supreme Court explained that Rule 702 imposes an obligation on

  a trial court to act as gatekeeper to ensure that any and all scientific testimony or

  evidence admitted is not only relevant, but reliable. 3 District courts are charged

  with this gatekeeping function “to ensure that speculative, unreliable expert

  testimony does not reach the jury” under the mantle of reliability that accompanies

  “expert testimony.” McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253, 1256

  (2002). Thus, the party offering an expert opinion has the burden of establishing

  three criteria: qualification, reliability, and helpfulness. See McClain v. Metabolife

  Int’l, Inc., 401 F.3d 1233, 1238 (11th Cir. 2005). First, the witness must be

  “qualified to testify competently regarding the matters [s]he intends to address.”

  Rink v. Cheminova, Inc., 400 F.3d 1286, 1291 (11th Cir. 2005). Indicia of an


  2     Mr. Heller does not disclose in his report any opinion on whether the statements at issue were
        defamatory, nor is he qualified to do so. (Doc. 89–1, ¶ 12). Therefore, the Plaintiff’s reliance
        on Mr. Heller’s characterization of the statements being “among the most defamatory
        allegations that I have seen in my thirty years of making political commercials” is misplaced.
        (Doc. 109, p. 4).
  3     Although the expert testimony at issue in Daubert was scientific, the Supreme Court held in
        Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141, 147–48 (1999), that the Daubert
        analysis and a trial judge’s role as gatekeeper apply “not only to testimony based on ‘scientific’
        knowledge, but also to testimony based on ‘technical’ and ‘otherwise specialized’ knowledge.”



                                                      3
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 4 of 12 PageID 11296




  expert’s qualifications may be evidenced by education, training, work experience,

  publication in the pertinent field, and membership in professional societies. See

  Am. Tech. Res. v. United States, 893 F.2d 651, 656 (3d Cir. 1990).

        Second, the expert witness must employ “sufficiently reliable” scientific

  methods or principles to form her opinions. Rink, 400 F.3d at 1291. The reliability

  of an expert’s methodology can be evaluated by considering a wide range of factors,

  including (1) whether the expert bases her opinion on sufficient facts or data, (2)

  whether the expert unjustifiably extrapolates her research to reach an unfounded

  conclusion, (3) whether the expert considers or accounts for contradictory studies

  or data, (4) the extent to which the methods used rely on the expert’s subjective

  interpretations, and (5) whether the expert is being as careful as an expert in the

  same field would be in conducting professional work outside the context of paid

  litigation. See Daubert, 509 U.S. at 593–94; FED. R. EVID. 702 advisory

  committee’s note to 2000 amendment. That said, the Court notes “[p]hysical

  testing is not an absolute prerequisite to the admission of expert testimony.”

  Hendrix v. Evenflo Co., Inc., 255 F.R.D. 568, 586 (N.D. Fla. 2009). However, “an

  expert who conducts no testing must be prepared with ‘a good explanation as to

  why his or her conclusion remained reliable’ notwithstanding the absence of

  testing.” Id. at 588 (citation omitted).

        Third, the expert’s testimony must “assist the trier of fact to understand the

  evidence or to determine a fact in issue.” Daubert, 509 U.S. at 591. Expert

  testimony helps where it concerns matters beyond the ken of the average juror and



                                             4
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 5 of 12 PageID 11297




  will allow the jury to understand the evidence or to resolve a factual dispute. See

  Kumho Tire, 526 U.S. at 148–49. Conversely, there will be no need for an expert’s

  opinion where the jury can decide a disputed issue through the application of

  common sense or simple logic considering the evidence and testimony presented

  at trial. See Dhillon v. Crown Controls Corp., 269 F.3d 865, 871 (7th Cir. 2001).

  Further, like all evidence and testimony, an expert’s opinion must be relevant to

  an issue in the case and must hold probative value that outweighs the concerns

  listed in Rule 403. Daubert, 509 U.S. at 591. The party offering the expert has the

  burden of satisfying each of these three elements by a preponderance of the

  evidence. Rink, 400 F.3d at 1292.

  III.   DISCUSSION

         The Defendants challenge Mr. Heller’s expert opinion on all three prongs of

  the Daubert analysis. The Defendants contend Mr. Heller is not qualified to offer

  opinions on reputational repair because his experience is limited to being a

  political media consultant. (Doc. 89, p. 2). Next, the Defendants contend Mr.

  Heller’s methodology is unreliable. (Id.). Finally, they argue Mr. Heller’s opinions

  are not helpful to the jury because he offers a model of damages that is not

  cognizable as a matter of law. (Id.). The third prong of the Daubert analysis—

  whether the expert’s testimony will assist the trier of fact to understand the

  evidence or to determine a fact in issue—is dispositive. But first, the Court will

  summarize Mr. Heller’s expert opinions.




                                           5
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 6 of 12 PageID 11298




        A.     Overview of Heller’s Opinions

        Mr. Heller opines that the allegedly defamatory political advertisements

  damaged Mr. Grayson’s reputation and caused him to lose a primary challenge

  against the incumbent Congressman Darren Soto. (Doc. 89-1, ¶ 9). Mr. Heller

  relies on a Democratic poll conducted in June 2018 where 504 likely Democratic

  primary voters for Florida’s 9th Congressional District had Grayson leading Soto

  by a margin of 45% to 38% with a margin of error of 4%. (Id.). After the “anti-

  Grayson” ad campaign was launched, Soto received twice as many votes as Grayson

  and won re-election. (Id. ¶ 11). Mr. Heller opines that, based on his experience,

  negative advertising “has [a] much greater impact on voters than does positive

  advertising” and it is difficult to undo. (Id. ¶ 13(d)). Mr. Heller calculates the cost

  of producing and purchasing 3.5 as many mailers as were issued in the “anti-

  Grayson” campaign at $2,397,000. (Id. ¶ 13(k)–(p)). And Mr. Heller determines

  that, based on his experience, the Plaintiff must also purchase television ads to

  counter the negative ads aired on Facebook, Instagram, Twitter, “and perhaps

  other social media.” (Id. ¶ 13(q)–(u)). The cost of television ads is calculated to be

  $4,790,000. (Id. ¶ 13(y)). Finally, Mr. Heller opines it will be necessary to produce

  “two different ads to rebut” each allegedly defamatory statement. (Id. ¶ 13(z)–

  (aa)). The grand total of the media campaign targeting the 9th Congressional

  District is $16,777.000. (Id. ¶ 13(bb)).




                                             6
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 7 of 12 PageID 11299




        B.     Damages for Defamation

        “Any person having suffered injury from defamation is entitled to recover

  damages. Florida law recognizes two categories of compensatory damages for

  defamation: general and special.” Klayman v. Judicial Watch, Inc., 22 F.Supp.3d

  1240, 1253 (S.D. Fla. 2014) (citing Krauser v. Evollution IP Holdings, Inc., No. 12-

  80977-CIV, 2013 WL 5313403, at *9 (S.D. Fla. Sept. 20, 2013)). General damages,

  “those which the law presumes must naturally, proximately, and necessarily result

  from publication of libel or slander,” are allowed when the plaintiff’s reputation is

  impaired, “although no actual pecuniary loss is demonstrated.” Army Aviation

  Heritage Found. & Museum, Inc. v. Buis., 504 F. Supp. 2d 1254, 1260 (N.D. Fla.

  2007) (citing Bobenhausen v. Cassat Ave. Mobile Homes, Inc., 344 So. 2d 279, 281

  (Fla. 1st DCA 1977)). When it comes to general damages “[t]here is no exact

  standard for fixing the compensation to be awarded on account of such elements

  of damage. Any award should be fair and just in the light of the evidence.” Army

  Aviation,    504    F.   Supp.    2d    at       1261.   “The   injured   party   may

  recover damages resulting from impaired reputation and standing in the

  community, humiliation, mental anguish, and suffering.” Id. Special damages,

  however, “do not result by implication of law,” and “it is necessary for a plaintiff to

  show his special damages proximately resulted from the defamation.” Id. “[T]he




                                               7
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 8 of 12 PageID 11300




  chief characteristic of special damages is a realized or liquidated loss.” Anderson

  v. Smith, No. 3:19-cv-222, 2020 WL 10058207, at *3 (M.D. Fla. Mar. 24, 2020). 4

         In Daniels v. HSN, Inc., No. 8:18-cv-3088, 2020 WL 533927, at *3 (M.D.

  Fla. Feb. 3, 2020), the plaintiff’s lawsuit included a claim for defamation per se. In

  discussing special damages, the Court rejected the plaintiff’s argument that he

  could prove special damages through expert testimony concerning the cost of

  repairing his reputation online. Id. at *6. The Court held special damages are

  actual, out of pocket losses; that is, realized or liquidated loss. Id. (citations

  omitted). Mr. Heller’s expert report does not address actual, out of pocket losses,

  because Grayson has not spent money to rehabilitate his reputation in the 9th

  Congressional District. 5 Moreover, as discussed above, Grayson has no interest in

  running for a seat in the 9th Congressional District, rendering Mr. Heller’s

  opinions concerning the cost of producing and publishing positive political ads

  irrelevant to any issue in dispute. Grayson literally seeks costs related to securing

  a job he does not want. Under no construction of the law does this amount to a




  4   In Anderson, the plaintiff alleged several causes of action, including libel per se, libel per quod,
      and defamation by implication after the plaintiff was accused of criminal conduct. 2020 WL
      10058207, at *1.
  5   See, e.g., Thermolife International LLC v. Vital Pharmaceuticals Inc., No. 19-cv-61380, 2020
      WL 409594, at *2 (S.D. Fla. Jan. 24, 2020)(finding that the counter-claimant had sufficiently
      alleged special damages by alleging that it was seeking damages in the form of “expenses
      incurred to counteract the disparaging effect” of the false statements); Jameson Land Co.,
      LLC v. Mosaic Fertilizer, LLC, No. 8:15–cv–409, 2016 WL 7206122, at *3 (M.D. Fla. Feb. 5,
      2016)(finding that the plaintiff had sufficiently alleged special damages by alleging that it had
      incurred expenses to counteract the false publication).



                                                     8
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 9 of 12 PageID 11301




  compensable damage. 6 Accordingly, Mr. Heller’s expert opinions fail to satisfy the

  third prong of the Daubert analysis.

  IV.    The First and Second Prongs of Daubert

         For the sake of completeness, the Court finds that Mr. Heller possesses the

  requisite technical and otherwise specialized knowledge based on his extensive

  employment history to offer expert opinions on the manner and means of

  producing and publishing favorable political advertisement and the costs

  associated doing so. See Kumho Tire, 526 U.S. at 147–48. While Mr. Heller may

  not have been specifically employed in the field of reputational repair, assuming

  such a thing exists, he has considerable experience working as a political media

  consultant. (Doc. 89-1, ¶ 3). The specialized knowledge acquired in this field since

  1991 qualifies Mr. Heller to offer expert opinions concerning the cost of producing

  and publishing political advertisements. And so, the first prong of the Daubert

  analysis is satisfied.

         The second prong of the Daubert test—a reliable methodology— presents a

  more challenging issue. Mr. Heller surmises that the allegedly defamatory

  statements produced by Progress Tomorrow and published at its direction caused

  Grayson to lose the primary election for Florida’s 9th Congressional District.

  According to Mr. Heller “[t]he amount of damage done to Grayson’s reputation in



  6   This is not to suggest that Mr. Grayson does not have a claim for general damages, assuming
      the jury concludes some of the statements are defamatory—it is simply to stress that Mr.
      Heller’s opinions do not advance that element of Grayson’s claim.




                                                9
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 10 of 12 PageID 11302




  this case is relatively clear.” (Doc. 89-1, ¶ 9). That said, Mr. Heller relies on only

  two data points: (1) a survey conducted by a Democratic polling firm in 2018 in

  which 504 likely Democratic primary voters favored Grayson over incumbent

  Congressman Soto, and (2) the fact that notwithstanding his apparent lead,

  Grayson lost to Soto, the latter candidate receiving twice as many votes as Grayson.

  (Id.). The survey canvassed just under 1% of the eligible Democratic primary

  voters. 7

         Mr. Heller did not conduct, and does not cite, any surveys of eligible

  Democratic primary voters conducted after the August 2018 negative political ad

  campaign to assess whether the “anti-Grayson” ads negatively impacted the voter’s

  opinion of Grayson and caused the voter to vote for Congressman Soto. While

  testing is not an absolute prerequisite to the admission of expert testimony, “an

  expert who conducts no testing must be prepared with a good explanation as to

  why his or her conclusion remained reliable notwithstanding the absence of

  testing.” Hendrix, 255 F.R.D. at 586 (internal quotations and citations omitted).

  Mr. Heller fails to explain why he did not conduct a survey of individuals residing

  in the 9th Congressional District to gauge the impact, if any, of the so-called “anti-

  Grayson” ads. This survey could have been conducted shortly after the election

  while the voter’s impression of the negative ads was fresh. The data from the survey

  could possibly have provided a basis for a statistical analysis of the impact of the


  7   According to Mr. Heller there were 55,114 votes cast in the 2018 Democratic primary, and 504
      eligible voters were surveyed in June before the negative political ads were aired. (Doc. 89-1,
      ¶¶ 9, 13(a)).



                                                  10
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 11 of 12 PageID 11303




  allegedly defamatory statements on the election, assuming the survey was large

  enough and asked relevant questions using a reliable format. Even so, Mr. Heller

  is not qualified to interpret a survey of this kind and could not offer an opinion as

  to the reliability of the data collected and its impact on the election. Simply put,

  the record before the Court does not identify a single voter who was otherwise

  inclined to vote for Grayson but did not do so because of the negative ads. See Peer

  v. Lewis, No. 06-60146-CIV, 2008 WL 2047978, at *10 (S.D. Fla. May 13, 2008),

  aff’d No. 08-13465, 2009 WL 323104 (11th Cir. Feb. 10, 2009).

        The Court is therefore left to consider whether a poll taken of 1% of the

  eligible Democratic voters (conducted before the negative ad campaign began)

  coupled with Grayson’s loss is a reliable methodology upon which to find a causal

  connection between the negative political ads and the outcome of the election.

  While it may be commonsense that negative political advertisements do not help a

  candidate, they are a fixture of American politics and candidates win elections even

  when confronted with a blitzkrieg of negative ads. A single poll conducted before

  an election and focused on a thin slice of the eligible electorate, combined with an

  election loss, is not a methodology. Mr. Heller does not cite any studies where such

  meager data was used to accurately predict the outcome of an election, and the

  Plaintiff cites no caselaw holding the methodology, or even a similar methodology,

  carries the day.

        As a final point, the Court finds that Mr. Heller’s opinion that positive

  advertising must be produced and published at a ratio of 3.5 to 1 to repair



                                           11
Case 6:20-cv-01824-PGB-LHP Document 142 Filed 04/28/22 Page 12 of 12 PageID 11304




  Grayson’s reputation in the 9th Congressional District is entirely unsupported.

  While Mr. Heller has extensive experience as a political media consultant, he does

  not cite to any prior campaigns where he was involved in rebutting negative

  advertisements and found a ratio of 3.5 to 1 positive over negative advertisement

  reversed the impact of the negative ads. As Mr. Heller conceded at deposition, he

  cannot identify a basis for this ratio. (Doc. 89-2, 71:11—72:4). Mr. Heller also

  admitted he had not conducted any studies to arrive at this multiplier. (Id. at

  71:13–16).

        Accordingly, Mr. Heller’s opinions that the allegedly defamatory statements

  caused Grayson to lose the election are not supported by a reliable methodology,

  nor is his opinion that a multiplier of 3.5 to 1 is necessary to repair Grayson’s

  reputation.

  V.    CONCLUSION

        For these reasons, the Defendants’ Daubert Motion (Doc. 89) is

  GRANTED.

        DONE AND ORDERED in Orlando, Florida on April 28, 2022.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties



                                         12
